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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF COLUMBIA



COUNCIL OF PARENT ATTORNEYS AND ADVOCATES, INC.     Civil No. 18-CV-01636-TSC

                               Plaintiff,           DECLARATION OF SELENE
                                                    ALMAZAN IN SUPPORT OF
                       v.                           PLAINTIFF’S CROSS-MOTION
                                                    FOR SUMMARY JUDGMENT
ELIZABETH (BETSY) DEVOS, SECRETARY OF EDUCATION;
JOHNNY W. COLLET, ASSISTANT SECRETARY FOR SPECIAL
EDUCATION AND REHABILITATIVE SERVICES; U.S.
DEPARTMENT OF EDUCATION,

                               Defendants



     DECLARATION OF SELENE ALMAZAN IN SUPPORT OF PLAINTIFF’S
      MOTION FOR ATTORNEYS’ FEES AND COSTS PURSUANT TO THE
                  EQUAL ACCESS TO JUSTICE ACT
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PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES AND COSTS PURSUANT TO THE
EQUAL ACCESS TO JUSTICE ACT

I, Selene Almazan, declare as follows:

1. This declaration is based on my personal knowledge. If called to testify in this case, I would

   testify competently about these facts.

2. I am the Legal Director of the Council of Parent Attorneys and Advocates, Inc. (COPAA). I

   have been the Legal Director for 5 years; I was on the Board for 11 years and I have been a

   member of COPAA for 20 years. I am familiar with COPAA’s activities and operations and

   am authorized to speak on its behalf.

3. COPAA is a non-profit 501(c)(3) organization.

4. COPAA did not employ more than 500 or more employees nor did its net worth exceed $7

   million at the time this lawsuit was filed.

5. COPAA does not owe any debt to the United States federal government.

6. COPAA retained the National Center for Youth Law (NCYL) and Sidley Austin LLP to

   represent COPAA pro bono in this matter. COPAA authorizes the recovery of fees,

   expenses, and costs to them in order to compensate them for work they performed on

   COPAA’s behalf for which their offices were not compensated. COPAA further assigned

   and assigns payment of any award of fees, costs, and expenses to issue (by a court or through

   a settlement) to NCYL and/or Sidley Austin LLP.

I declare under penalty of perjury that the foregoing is true and correct. Executed on this 18th

day of October, 2019.

                                                                           Respectfully submitted,


                                                                         _____________________
                                                                                 Selene Almazan
